     Case 1:19-cr-00576-BMC Document 1-1 Filed 12/04/19 Page 1 of 1 PageID #: 6

                                                                                            FILED
                                                                                     IN CLERK'S OFFICE
                                                                               U.S. DISTRICT COURT E.D.N.Y.
                                     INFORMATION SHEET
                                                                               *      DEC 0 4 2019       ★
                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK                        BROOKLYN OFFICE


                                                                                      GEQ

         Title of Case: United States v. Genaro Garcia Lima

         Related Magistrate Docket Number(s): N/A

         Arrest Date: N/A                               DEARIE, J
         Nature of offense(s):   iEI Felony
                                 □    Misdemeanor
                                                          LEVY, M.J.
         Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local
         E.D.N.Y. Division of Business Rules):

         Projected Length of Trial:   Less than 6 weeks         IE
                                      More than 6 weeks         □


         County in which crime was allegedly committed: Kings
         (Pursuant to Rule 50.1(d) of the Local E.D.N.Y. Division of Business Rules)

         Was any aspect of the investigation, inquiry and prosecution giving rise to the case
         pending or initiated before March 10,2012.'                 DYes IS No

9.       Has this indictment/information been ordered sealed?          Yes    DNo


10.      Have arrest warrants been ordered?                            Yes    DNo


11.      Is there a capital count included in the indictment?        □Yes       No


                                                     RICHARD P. DONOGHUE
                                                     United States Attorney

                                              By:    _Erin Reid
                                                     Erin Reid
                                                     Assistant U.S. Attorney
                                                     718-254-6361



         Judge Brodie will not accept cases that were initiated before March 10, 2012.



Rev. 10/04/12
